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                                                                                                   E-FILED
                                                                         Friday, 18 June, 2021 05:58:20 PM
                                                                              Clerk, U.S. District Court, ILCD

044653/19344/JNR

                         UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF ILLINOIS, SPRINGFIELD DIVISION

ANTHONY GAY,

                      Plaintiff,

v.
                                                           No. 19-cv-01133
THE STATE OF ILLINOIS, JOHN BALDWIN,
JEFF SIMS, SHANE REISTER, DR. DOE 1,                       Judge Harold A. Baker
MELVIN HINTON, SYLVIA BUTLER, KELLY
                                                           Magistrate Judge Eric I. Long
ANN RENZI, WILLIAM PUGA, DR. CHESS,
DR. NUNEZ, WEXFORD HEALTH SOURCES,
INC., and DOES 2-5,

                      Defendants.

       RESPONSE TO PLAINTIFF’S MOTION TO COMPEL SUPPLEMENTAL
     DISCOVERY AND ESI PRODUCTION FROM THE WEXFORD DEFENDANTS

       NOW COMES the Defendant, WEXFORD HEALTH SOURCES, INC., KELLY

RENZI, PSY.D., and WILLIAM PUGA, M.D., by and through their attorneys, CASSIDAY

SCHADE LLP, and for its Response to Plaintiff, ANTHONY GAY’s Motion to Compel

Supplemental Discovery and ESI Production from the Wexford Defendants, states as follows:

       1.      Plaintiff files his Motion to Compel Supplemental Discovery and ESI Production

from the Wexford Defendants [“Motion”], arguing the Wexford Defendants have failed to timely

produce documents and supplemental written responses to Plaintiff’s discovery. [Doc. 126].

       2.      Plaintiff’s Motion is wholly unnecessary.     As is clear from the correspondence

attached to the Motion, the Wexford Defendants have not refused production, rather are awaiting

resolution of the protective order related to confidential documents and redaction of protected

health information of non-parties. [Doc. 126-2, p. 5].
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       3.      The Wexford Defendants had previously agreed to a timeframe for production of

documents based on the belief that a protective order for confidentiality [“Confidentiality

Order”] would be entered during that time. Since then, dispute arose regarding the terms of the

Confidentiality Order. [Docs. 121, 122, 123, 125, and 130]. That dispute remains unresolved

and the terms of the Confidentiality Order unclear.

       4.      Plaintiff argues the Wexford Defendant did not raise the issue of need for

redaction in any documents produced until after the dispute arose regarding the protective order.

While this is true, it was not until after Plaintiff’s objections to the Confidentiality Order that the

Wexford Defendants became aware Plaintiff believed he was entitled to production of non-party

protected health information. The assumption that redaction was appropriate and expected for

personal identifying information of non-parties whose protected health information may be

contained in documents being produced was supported by the existing HIPAA Qualified

Protective Order, which covers only Plaintiff. [Doc. 22].

       5.      An order compelling production by the Wexford Defendants is unnecessary as the

Wexford Defendants are prepared to produce documents within five business days following

resolution of the issues surrounding the Confidentiality Order.

       WHEREORE Defendants respectfully request this Court deny Plaintiff’s Motion to

Compel and grant other such further relief deemed just and appropriate.



                                               Respectfully Submitted,

                                               CASSIDAY SCHADE LLP

                                               By: /s/ Joy C. Syrcle
                                                  One of the Attorneys for Defendant,
                                                  WEXFORD HEALTH SOURCES, INC.,
                                                  KELLY RENZI, PSY.D., and WILLIAM PUGA,
                                                  M.D.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 18, 2021, I electronically filed the foregoing Response to

Motion to Compel with the Clerk of the Court using the CM/ECF system. The electronic case

filing system sent a “Notice of E-Filing” to the following:

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